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 1          UNITED STATES DISTRICT COURT OF MARYLAND
                         SOUTHERN DIVISION
 2
   ------------------------x
 3 UNITED STATES OF AMERICA  :
              Plaintiff      :
 4                           :
                             :
 5 vs                        :Criminal Action:            RWT -04-0235
                             :
 6                           :
   PAULETTE MARTIN, et al    :
 7           Defendants.     :
   ------------------------x
 8

 9                           Thurs day, August 31 , 2006
                             Greenbelt, Maryland
10
         The above-entitled action came on for a Jury Trial
11 Proceeding before the HONORABLE ROGER W. TITUS, United
   States District Judge, in courtroom 4C, commencing at
12 4:44 p.m.

13       THIS TRANSCRIPT REPRESENTS THE PRODUCT
         OF AN OFFICIAL REPORTER, ENGAGED BY
14       THE COURT, WHO HAS PERSONALLY CERTIFIED
         THAT IT REPRESENTS THE TESTIMONY AND PROCEEDINGS
15       OF THE CASE AS RECORDED    AND REQUESTED BY COUNSEL.

16       APPEARANCES:

17       On behalf of the Plaintiff:

18       BONNIE GREENBERG, Esquire

19       On behalf of the Defendants:

20       MICHAEL MONTEMARANO , Esquire
         ANTHONY MARTIN, Esquire
21       MARC HALL, Esquire
         TIMOTHY MITCHELL, Esquire
22       PETER WARD, Esquire
         EDWARD SUSSMAN , Esquire
23       HARRY MCKNETT , Esquire

24

25 Tracy Rae Dunlap,   RPR , CRR                       (301) 344-3912
   Official Court Reporter



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24 Reporter's Certificate                                   67

25 Concordance                                              68




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 1            THE COURT:     Counsel , we have received       a note --

 2 I have provided     copies     of to you -- indicati ng that

 3 they have reach ed unanimous        verdict s for all defendant s

 4 and count s except       for all count s pertain ing to      one

 5 defendant , and they are deadlock ed on that .

 6            What is the pleasure     of the government ?

 7            MS. JOHNSTON:      Your Honor , quite frankly ,

 8 through     no fault of the juror s, it seem s that any

 9 further     deliberation s would be a hardship          to those

10 juror s.     I don't care .     It would n't make any sense to

11 bring them back September         11 , which would then be more

12 than 30 day s since we've finish ed present ing the

13 evidence .     The government     has no objection       to the court

14 taking     the verdict    that they have , and then we'll

15 resolve     those mis trial issue s with that particular           --

16            THE COURT:     Mr. Montemarano .

17            MR. MONTEMARANO:      I would be incline d to agree

18 with Ms. Johnston .        However , I would like to stand

19 be hind her to catch her when she fall s, just in case .

20            THE COURT:     All right .     Let me ask Bea to go

21 back and ask the juror s if they've           complete d the

22 verdict     form -- I'm assuming        they probably    have -- and

23 I will ask -- it depends         on what they've     already   done .

24 They may have     already     written    down , "W e can't agree ,"

25 but I will tell them to complete            the verdict    form where




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 1 they have verdict s, and when they have the particular

 2 defendant     as to whom they have no verdict s, depend ing

 3 on what they've       already   done , they can either      leave it

 4 blank or they can put down "un able to agree ," but

 5 something     to indicate   that that 's the     one they can't

 6 agree upon .

 7           Is that acceptable , counsel ?

 8           MR. MONTEMARANO :       Yes , Your Honor .

 9           MR. HALL:     Yes .

10           THE COURT:     Stay right here .

11           Ms. Merez , see if they're       ready .     If they've

12 already    done it , bring them in .

13           THE CLERK:     Okay .    They should   be in in a

14 minute , Ju dge .

15           THE COURT:     Counsel , they're    completing     the

16 ve rdict form and they will be ready short ly .

17           Counsel , the jury is comi ng in .

18                         (Jury return s at 4:54 p.m. )

19           THE COURT:     Good afternoon , ladies and

20 gentlemen .     I have received      your note and have share d

21 it with counsel       for all sides in this case .

22           You had asked me earlier       in the case what would

23 happen    if you could n't reach verdict s on some aspect s

24 of the case , and as I advise d you at that time we are

25 authorize d to receive      verdict s on those matter s on




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 1 which you do agree .       We are going to proceed         now with

 2 receipt      of your verdict s that you were able to reach ,

 3 and we'll deal with the other question s at a later

 4 time .

 5            Before   we go through    this procedure , which is a

 6 long procedure      receiving     verdict s, I want to apologize

 7 being sort of the summertime          version   of the Grin ch that

 8 stole Christmas .       We have    taken an enormous      amount    of

 9 your time , and I can assure         you I speak for myself , all

10 of my colleague s on the court , Judge Chasanow , who

11 assisted      me when I was out of town -- all the parti es

12 in this case sincere ly appreciate           the effort    that you

13 have given -- the enormous          effort   way above and beyond

14 the call of duty to participate          in this case .      So , I

15 thank you very much for that .

16            With that , Ms. Merez take s over and we will

17 proceed      with receiving   the verdict s that you have

18 reach ed .

19            THE CLERK:    We are    tak ing a verdict   in criminal

20 number    RWT-04-0235 ; United      States   of America    versus

21 Paul ette Martin , Learley Goodwin, Reece Whiting,

22 Derrick      Bynum , Lavon Dobie , Ruby Harden and        LaNora    Ali.

23            Will the foreperson      please   rise ?

24            Has the verdict      form , which was submitted     to the

25 jury , been answered ?




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 1            THE FOREPERSON:       Yes , it has .

 2            THE CLERK:       Is the form sign ed by you and date d?

 3            THE FOREPERSON:       Yes , it is .

 4            THE CLERK:       It is de sire d by the       cler k to

 5 present    to the court .

 6            As I read the question s, I'll need you to

 7 provide    the answer s.       You can remain        seat ed .

 8            THE FOREPERSON:       Okay .

 9            THE CLERK:       Count One .     Question     1.      How do you

10 find the defendant , Paul ette Martin , as to Count One ,

11 conspiracy     to distribute      and possess        with intent         to

12 distribute     heroin , cocaine       and cocaine      base :      Guilty or

13 Not Guilty ?

14            THE FOREPERSON:       Guilty .

15            THE CLERK:       If you could move that micro phone as

16 close to you as possible , I would appreciate                     it .

17            Question    2.    If you find the defendant , Paulette

18 Martin , guilty       as to Count One , how do you find as to

19 the type of controlled          substance        involve d?      As to

20 heroin ?

21            THE FOREPERSON:       Yes .

22            THE CLERK:       Cocaine ?

23            THE FOREPERSON:       Yes .

24            THE CLERK:       Cocaine     base ?

25            THE FOREPERSON:       Yes .




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 1          THE CLERK:     If you found the defendant , Paulette

 2 Martin , guilty     as to Count One , and if you find that

 3 heroin   was involve d, how do you find as to the amount

 4 of heroin     attributable   to the defendant ?

 5          And it asked you to        pick one .     Tell me which one

 6 you pick ed .

 7          THE FOREPERSON:       One kilogram       or more .

 8          THE CLERK:     Question     4.   I f you found the

 9 defendant , Paulette     Martin , guilty     as to Count One , and

10 if you found that cocaine        was involve d, how do you find

11 as to the amount      of cocaine    attributable      to the

12 defendant ?

13          It indicate s that you should           pick one .

14          THE FOREPERSON:       We did .

15          THE CLERK:     Which one did you pick , please ?

16          THE FOREPERSON:       Five kilogram s or more .

17          THE CLERK:     Question     5.   If you found that the

18 defendant , Paulette     Martin , guilty     as to Count One , and

19 if you find that cocaine        base , common ly known as "crack

20 cocaine " was involve d, how do you find as to the amount

21 of cocaine      base attributable    to the defendant ?

22          It asks that you pick one .         Could you indicate

23 which one you pick ed , please ?

24          THE FOREPERSON:       50 grams or more .

25          THE CLERK:     Question     6.   How do you find the




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 1 defendant , Learley       Reed Goodwin , as to Count One ,

 2 conspiracy     to distribute    and possess        with intent    to

 3 distribute     heroin , cocaine      or cocaine     base :   Guilty or

 4 Not Guilty ?

 5            THE FOREPERSON:     Guilty .

 6            THE CLERK:     Question        7.   If you found the

 7 defendant , Learley       Reed Goodwin,        guilty   as to Count

 8 One , how do you find as to the type of controlled

 9 substance    involve d?

10            As to heroin ?

11            THE FOREPERSON:     No .

12            THE CLERK:     Cocaine ?

13            THE FOREPERSON:     Yes .

14            THE CLERK:     Cocaine     base ?

15            THE FOREPERSON:    Yes     .

16            THE CLERK:     For the record , did you indicate

17 anything    as to Question     8?

18            THE FOREPERSON:     No .

19            THE CLERK:     Question        9.   If you found the

20 defendant , Learley       Reed Goodwin , guilty         as to Count

21 One , and if you found that cocaine              was involve d, how do

22 you find as to the amount           of cocaine     attributable    to

23 the defendant ?

24            It indicate s that you should           pick one .   Which

25 one did you pick , please ?




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 1           THE FOREPERSON:        Five kilogram s or more .

 2           THE CLERK:        Thank you .

 3           Question   10 .     If you found the defendant ,

 4 Learley   Reed Goodwin , guilty           as to Count One , and if

 5 you found that cocaine          base , common ly known as "crack

 6 cocaine " was involve d, how do you find as to the amount

 7 of cocaine    base attributable           to the defendant ?

 8           It indicate s that you should             pick one .    Which

 9 one did you pick ?

10           THE FOREPERSON:        50 grams or more .

11           THE CLERK:        Thank you .

12           Question   11 .     How do you find the defendant ,

13 Reece Coleman Whiting , as Count One , conspiracy                 to

14 distribute    and possess       with intent       to distribute

15 heroin , cocaine     or cocaine        base :    Guilty or   Not Guilty ?

16           THE FOREPERSON:        Guilty .

17           THE CLERK:        Question     12 .    If you found the

18 defendant , Reece Coleman W hiti ng , guilty             as to Count

19 One , how do you find as to the type of controlled

20 substance    involve d?      Heroin ?

21           THE FOREPERSON:        Yes .

22           THE CLERK:        Cocaine ?

23           THE FOREPERSON:        Yes .

24           THE CLERK:        Cocaine     base ?

25           THE FOREPERSON:        No .




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 1            THE CLERK:     Question      13 .   If you found the

 2 defendant , Reece Coleman W hiti ng , guilty             as to Count

 3 One , and if you found that heroin             was involve d, how do

 4 you find as to the amount            of heroin     attributable    to the

 5 defendant ?

 6            It indicate s that you should           pick one .     Which

 7 one did you pick ?

 8            THE FOREPERSON:          One kilogram    or more .

 9            THE CLERK:     Question      14 .   If you found the

10 defendant , Reece Coleman           W hiti ng , guilty   as to Count

11 One , and if you found that cocaine              was involve d, how do

12 you find as to the amount            of cocaine     attributable    to

13 the defendant ?

14            It indicate s that you should           pick one .     Which

15 one did you pick ?

16            THE FOREPERSON:          Five kilogram s or more .

17            THE CLERK:     For the record , did you indicate

18 anything    in Question      15 ?

19            THE FOREPERSON:          No , we did not .

20            THE CLERK:     Question      16 .   How do you find the

21 defendant , Derrick Louis           Bynum as to Count One ,

22 conspiracy     to distribute        and possess     with intent    to

23 distribute     heroin , cocaine        or cocaine    base :   Guilty or

24 Not Guilty ?

25            THE FOREPERSON:          Guilty .




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 1            THE CLERK:    If you found the defendant , Derrick

 2 Louis Bynum , guilty      as to Count One , how do you find as

 3 to the type of controlled           substance        involve d?    As to

 4 heroin ?

 5            THE FOREPERSON:        No .

 6            THE CLERK:    Cocaine ?

 7            THE FOREPERSON:        Yes .

 8            THE CLERK:    Cocaine         base ?

 9            THE FOREPERSON:        Yes .

10            THE CLERK:    For the record , did you indicate

11 anything     as to Q uestion    18 ?

12            THE FOREPERSON:        No , we did not .

13            THE CLERK:    Okay .     Question        19 .    If you found

14 the defendant , Derrick        Louis Bynum , guilty            as to Count

15 One , and if you found that cocaine                was involve d, how do

16 you find as to the amount           of cocaine        attributable    to

17 the defendant ?

18            It indicate s that you should             pick one .    Which

19 one did you pick ?

20            THE FOREPERSON:        Five kilogram s or more .

21            THE CLERK:    Question         20 .    If you found the

22 defendant , Derrick      Louis Bynum , guilty              as to Count One ,

23 and if you found that cocaine               base , common ly known as

24 "crack cocaine " was involve d, how do you find as to the

25 amount     of cocaine   base attributable            to the defendant ?




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 1            It indicate s that you should             pick one .   Which

 2 one did you pick ?

 3            THE FOREPERSON:        50 grams or more .

 4            THE CLERK:    Question     21 .    How do you find the

 5 defendant , Ruby Bertine         Harden   as to Count One

 6 conspiracy     to distribute      and possess        with intent    to

 7 distribute     heroin , cocaine      or cocaine       base :    Guilty    not

 8 guilty ?

 9            THE FOREPERSON:        We were un able to render         a

10 verdict    for Ruby Bertine       Harden .

11            THE CLERK:    Okay .     For the record , did you

12 indicate    anything    under Question        22 ?

13            THE FOREPERSON:        No , we did not .

14            THE CLERK:    Under Question        23 , as to defendant

15 Ruby Bertine     Harden ?

16            THE FOREPERSON:        We did not .

17            THE CLERK:    Under Question        24 ?

18            THE FOREPERSON:        We did not .

19            THE CLERK:   Under      Question    25 ?

20            THE FOREPERSON:        We did not .

21            THE CLERK:    Question     26 .    How do you find the

22 defendant , Lavon Dobie , as to Count One , conspiracy                    to

23 distribute     and possess      with intent     to distribute

24 heroin , cocaine    or cocaine       base :    Guilty or       Not Guilty ?

25            THE FOREPERSON:        Guilty .




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 1            THE CLERK:      Did you indicate         anything     under

 2 Question     27 ?

 3            THE FOREPERSON:          No , we did not .

 4            THE CLERK:      Question         28 .

 5            Wait a minute , Judge .            I'm get ting a little

 6 confused     here .

 7            If you find the defendant , Lavon Dobie , guilty

 8 as to Count One or the lesser                 included    offense , how do

 9 you find as to the type of controlled                    substance

10 involve d?     Heroin ?

11            THE FOREPERSON:          Yes .

12            THE CLERK:      Cocaine ?

13            THE FOREPERSON:          Yes .

14            THE CLERK:      Cocaine     base ?

15            THE FOREPERSON:          Yes .

16            THE CLERK:      If you found the defendant , Lavon

17 Dobie , guilty        as to Count One or the less er included

18 offense , and if you found that heroin                   was involve d, how

19 do you find as to the amount                of heroin     attributable       to

20 the defendant ?

21            It indicate s that you should            pick one .       Which

22 one did you pick ?

23            THE FOREPERSON:          100 grams , but less than one

24 kilogram .

25            THE CLERK:      Okay .     Question     30 .    If you found




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 1 the defendant , Lavon Dobie , guilty               as to Count One or

 2 the less er included         offense , and if you found that

 3 cocaine    was involve d, how do you find as to the amount

 4 of cocaine     attributable       to the defendant ?

 5            It indicate s that you should            pick one .      Which

 6 one did you pick ?

 7            THE FOREPERSON:        Less than 500 gram s.

 8            THE CLERK:        Less than 500 ?       Okay .

 9            Question   31 .     If you found the defendant , Lavon

10 Dobie , guilty    as to Count One or the less er included

11 offense , and if you found that cocaine                base , common ly

12 known as "crack cocaine ," was involve d, how do you find

13 as to the amount        of cocaine        base attributable        to the

14 defendant ?

15            It indicate s that you should            pick one .      Which

16 one did you pick ?

17            THE FOREPERSON:        Five grams , but less than 50

18 grams .

19            THE CLERK:        How do you find for the defendant ,

20 LaNora    N. Ali, as to Count One , conspiracy                to

21 distribute     and possess       with intent       to distribute

22 heroin , cocaine      or cocaine         base :   Guilty or    Not Guilty ?

23            THE FOREPERSON:        Guilty .

24            THE CLERK:        For the record , did you indicate

25 anything    under Question        33 ?




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 1           THE FOREPERSON:      No , we did not .

 2           THE CLERK:      Question     34 .     If you find the

 3 defendant , LaNora      N. Ali, guilty         as to Count One or the

 4 lesser    included    offense , how do you find as to the type

 5 of controlled     substance    involve d?

 6           It indicate s you should            pick one .   Heroin ?

 7           THE FOREPERSON:      Yes .

 8           THE CLERK:      For the record , cocaine ?

 9           THE FOREPERSON:      Yes .

10           THE CLERK:      Cocaine    base ?

11           THE FOREPERSON:      Yes .

12           THE CLERK:      If you found the defendant , LaNora

13 N. Ali, guilty       as to Count One or the less er included

14 offense , and if you found that heroin               was involve d, how

15 do you find as to the amount           of heroin      attributable      to

16 the defendant ?

17           It indicate s you should            pick one .   Which one did

18 you pick ?

19           THE FOREPERSON:      Less than 100 grams .

20           THE CLERK:    Question       36 .     If you found the

21 defendant , LaNora      N. Ali, guilty         as to Count One or the

22 less er included      offense , and if you found that cocaine

23 was involve d, how do you find as to the amount                 of

24 cocaine    attributable     to the defendant ?

25           It indicate s that you should            pick one .   Which




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 1 one did you pick ?

 2            THE FOREPERSON:          We pick ed less than 500 grams .

 3            THE CLERK:         Less than 500 ?       Okay.

 4            Question    37 .     If you found the defendant , LaNora

 5 N. Ali, guilty        as to Count One or the less er included

 6 offense , and if you found that cocaine                 base , common ly

 7 known as "crack cocaine ," was involve d, how do you find

 8 as to the amount        of cocaine       base attributable        to the

 9 defendant ?

10            It indicate s that you should             pick one .     Which

11 one did you pick ?

12            THE FOREPERSON:          50 grams or more .

13            THE CLERK:         Count Two .       How do you find the

14 defendant , Learley       Reed Goodwin , as to Count Two ,

15 possession     with intent        to distribute       cocaine   base on or

16 about November        25 , 2003 :    Guilty or      Not Guilty ?

17            THE FOREPERSON:          Guilty .

18            THE CLERK:         Question   39 .     Count Three .     How do

19 you find the defendant , Paulette                Martin , as to Count

20 Three , use of a telephone           in furtherance         of a drug

21 conspiracy     on or about March 9, 2004 :              Guilty or    Not

22 Guilty ?

23            THE FOREPERSON:          Guilty .

24            THE CLERK:         Question   40 .     How do you find the

25 defendant , Reece Coleman W hiti ng , as to Count Three ,




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 1 use of a telephone        in furtherance         of a drug conspiracy

 2 on or about March 9, 2004 :            Guilty or     Not Guilty ?

 3            THE FOREPERSON:      Guilty .

 4            THE CLERK:      Count Four .       Question    41 .   How do

 5 you find the defendant , Paulette             Martin , as to Count

 6 Four , possession       with intent     to distribute       cocaine on

 7 or about March 10 , 2004 :        Guilty or        Not Guilty ?

 8            THE FOREPERSON:      Guilty .

 9            THE CLERK:      Question    42 .      If you found the

10 defendant , Paulette       Martin , guilty        as to Count Four ,

11 how do you find as to the amount              of cocaine

12 attributable     to the defendant ?

13            It indicate s that you should            pick one .    Which

14 one did you pick ?

15            THE FOREPERSON:      500 grams or more .

16            THE CLERK:      Count Five .       Question    43 .   How do

17 you find the defendant , Paulette             Martin , as to Count

18 Five , use of a telephone        in furtherance          of a drug

19 conspiracy     on or about March 11 , 2004 :             Guilty or    Not

20 Guilty ?

21            THE FOREPERSON:      Guilty .

22            THE CLERK:      For the record , Count Six was

23 intentionally     omit ted .

24            Count Seven .     Question     44 .     How do you find the

25 defendant , Paul ette Marin,          as to Count Seven , use of a




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 1 telephone    in furtherance    of a drug conspiracy            on or

 2 about March 11 , 2004 :      Guilty or     Not Guilty ?

 3         THE FOREPERSON:        Guilty .

 4         THE CLERK:      Question    45 .   How do you find the

 5 defendant , Derrick    Louis Bynum , as to Count Seven , use

 6 of a telephone     in furtherance     of a drug conspiracy             on

 7 or about March 11 , 2004 :      Guilty or     Not Guilty ?

 8         THE FOREPERSON:        Guilty .

 9         THE CLERK:      Count Eight .      Question     46 .    How do

10 you find the defendant , Paulette          Martin , as to Count

11 Eight , possession    with intent     to distribute       cocaine

12 base on or about March 12 , 2004 :          Guilty or     Not Guilty ?

13         THE FOREPERSON:        Guilty .

14         THE CLERK:      Question    47 .   If you found the

15 defendant , Paulette     Martin , guilty     as to Count Eight ,

16 how do you find as to the amount           of cocaine     base

17 attributable     to the defendant ?

18         It indicate s that you should         pick one .        Which

19 one did you pick ?

20         THE FOREPERSON:        50 grams or more .

21         THE CLERK:      Question    48 .   How do you find the

22 defendant , Derrick    Louis Bynum , as to Count Eight ,

23 possession     with intent   to distribute     cocaine     on or

24 about March 12 , 2004 :      Guilty or     Not Guilty ?

25         MS. GREENBERG:        Could you read that again ?




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 1         THE CLERK:      I'm sorry .         Question     48 .    How do you

 2 find the defendant , Derrick         Louis Bynum , as to Co unt

 3 Eight , possession    with intent      to distribute            cocaine

 4 base on or about March 12 , 2004 :             Guilty or        Not Guilty ?

 5         THE FOREPERSON:       Guilty .

 6         THE CLERK:      Question     49 .     If you found the

 7 defendant , Derrick    Louis Bynum , guilty            as to Count

 8 Eight , how do you find as to the amount                of cocaine        base

 9 attributable    to the defendant ?

10         It indicate s you should            pick one .     Which one did

11 you pick ?

12         THE FOREPERSON:       50 grams or more .

13         THE CLERK:      Count Nine .         How do you find --

14 Count Nine .    Question   50 .     How do you find the

15 defendant , Paulette     Martin , as to Count Nine , use of a

16 telephone    in furtherance       of a drug conspiracy            on or

17 about March 12 , 2004 :     Guilty or        Not Guilty ?

18         THE FOREPERSON:       Guilty .

19         THE CLERK:      Question     51 .     How do you find the

20 defendant , Reece Coleman         Whiting , as to Count Nine , use

21 of a telephone    in furtherance       of the drug conspiracy               on

22 or about March 12 , 2004 :         Guilty or     Not Guilty ?

23         THE FOREPERSON:       Guilty .

24         THE CLERK:      Count Ten .         Question     52 .    How do you

25 find the defendant , Paulette         Martin , as to Count Ten ,




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 1 possession     with intent   to distribute       cocaine    on or

 2 about March 13 , 2004 :      Guilty or       Not Guilty ?

 3            THE FOREPERSON:   Guilty     .

 4            THE CLERK:   Question      53 .   If you found the

 5 defendant , Paulette     Martin , guilty       as to Count Ten , how

 6 do you find as to the amount          of cocaine    attributable          to

 7 the defendant ?

 8            It indicate s that you should        pick one .     Which

 9 one did you pick ?

10            THE FOREPERSON:    500 grams or more .

11            THE CLERK:   Count 11.       Question   54 .     How do you

12 find the defendant , Paulette         Martin , as to Count 11 ,

13 use of a telephone      in furtherance        of the drug

14 conspiracy     on or about March 15 , 2004 :        Guilty or       Not

15 Guilty ?

16            THE FOREPERSON:    Guilty .

17            THE CLERK:   Count 12 .      Question   55 .     How do you

18 find the defendant , Paulette         Martin , as to Count 12 ,

19 use of a telephone      in furtherance        of the drug

20 conspiracy     on or about March 15 , 2004 :        Guilty or       Not

21 Guilty ?

22            THE FOREPERSON:    Guilty .

23            THE CLERK:   Count 13.       Question   56 .     How do you

24 find the defendant , Paulette         Martin , as to Count 13 ,

25 use of a telephone      in furtherance        of the drug




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 1 conspiracy     on or about March 16 , 2004 :          Guilty or       Not

 2 Guilty ?

 3            THE FOREPERSON:     Guilty .

 4            THE CLERK:     Count 14 .     Q uestion   57 .    How do you

 5 find defendant , Paulette       Martin , as to Count 14,

 6 possession     with intent    to distribute       heroin     on or about

 7 March 16 , 2004 :       Guilty or    Not Guilty ?

 8            THE FOREPERSON:     Guilty .

 9            THE CLERK:     Count 15 .     Q uestion   58 .    How do you

10 find the defendant , Paulette          Martin , as to Count 15 ,

11 use of a telephone        in furtherance       of the drug

12 conspiracy     on or about March 16 , 2004:           Guilty or       Not

13 Guilty ?

14            THE FOREPERSON:     Guilty .

15            THE CLERK:     Question     59 .   How do you find the

16 defendant , Reece Coleman Whiting,             as to Count 15 , use

17 of a telephone      in furtherance       of the drug conspiracy             on

18 or about March 16 , 2004 :          Guilty or    Not Guilty ?

19            THE FOREPERSON:     Guilty .

20            THE CLERK:     Count 16 .     Q uestion   60 .    How do you

21 find the defendant , Paulette          Martin , as to Count 16 ,

22 possession     with intent    to distribute       cocaine     on or

23 about March 17 , 2004 :       Guilty or       Not Guilty ?

24            THE FOREPERSON:     Guilty .

25            THE CLERK:     Question     61 .   If you found the




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 1 defendant , Paulette     Martin , guilty      as to Count 16,      how

 2 do you find as to the amount         of cocaine     attributable       to

 3 the defendant ?

 4            It indicate s that you should       pick one .     Which

 5 one did you pick ?

 6            THE FOREPERSON:    500 grams or more .

 7            THE CLERK:   Count 17 .     Q uestion   62 .    How do you

 8 find the defendant , Paulette        Martin , as to Count 17 ,

 9 use of a telephone      in furtherance       of the drug

10 conspiracy     on or about March 17 , 2004 :        Guilty or    Not

11 Guilty ?

12            THE FOREPERSON:    Guilty .

13            THE CLERK:   Question     63 .   How do you find the

14 defendant , Derrick     Louis Bynum , as to Count 17 , use of

15 a telephone     in furtherance     of the drug conspiracy        on or

16 about March 17 , 2004 :      Guilty or      Not Guilty ?

17            THE FOREPERSON:    Guilty .

18            THE CLERK:   Count 18 .     How do you find the

19 defendant , Paulette     Martin , as to Count 18 , use of a

20 telephone    in furtherance    of the drug conspiracy           on or

21 about March 17 , 2004 :      Guilty or      Not Guilty ?

22            THE FOREPERSON:    Guilty .

23            THE CLERK:   Question     65 .   How do you find the

24 defendant , Learley     Reed Goodwin , as to Count 18 , use of

25 a telephone     in furtherance     of the drug conspiracy        on or




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 1 about March 17 , 2000 :      Guilty or       Not Guilty ?

 2            THE FOREPERSON:    Guilty .

 3            THE CLERK:    Count 19 .     Question   66 .     How do you

 4 find the defendant , Paulette         Martin , as to Count 19 ,

 5 use of a telephone      in furtherance        of the    drug

 6 conspiracy     on or about March 18 , 2004 :           Guilty or    Not

 7 Guilty ?

 8            THE FOREPERSON:    Guilty .

 9            THE CLERK:    Count 20 .     Question   67 .     How do you

10 find the defendant , Paulette         Martin , as to Count 20 ,

11 use of a telephone      in furtherance        of the drug

12 conspiracy     on or about March 19 , 2004 :           Guilty or    Not

13 Guilty ?

14            THE FOREPERSON:    Guilty .

15            THE CLERK:    Count 21 .     Question   68 .     How do you

16 find the defendant , Paulette         Martin , as to Count 21 use

17 of a telephone     in furtherance       of the drug conspiracy            on

18 or about March 19 , 2004 :      Guilty or       Not Guilty ?

19            THE FOREPERSON:    Guilty .

20            THE CLERK:   Qu estion     69 .   How do you find the

21 defendant , Reece Coleman      Whiting , as to Count 21 , use

22 of a telephone     in furtherance       of the drug conspiracy            on

23 or about March 19 , 2004 :      Guilty or       Not Guilty ?

24            THE FOREPERSON:    Guilty .

25            THE CLERK:    Count 22 .     Question   70 .     How do you




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 1 find the defendant , Paulette           Martin , as to Count 22 ,

 2 use of a telephone        in furtherance        of the drug

 3 conspiracy     on or about March 20 , 2004 :             Guilty or    Not

 4 Guilty ?

 5            THE FOREPERSON:         Not guilty .

 6            THE CLERK:     Question     71 .     How do you find the

 7 defendant , LaNora      Ali, as to Count 22 , use of a

 8 telephone     in the furtherance        of the drug conspiracy           on

 9 or about March 20 , 2004 :           Guilty or     Not Guilty ?

10            THE FOREPERSON:         Not guilty .

11            THE CLERK:   Count 23.       Q uestion    72 .   How do you

12 find the defendant , Paulette           Martin , as to Count 23 ,

13 use of a telephone        in furtherance        of the drug

14 conspiracy     on or about March 21 , 2004 :             Guilty or    Not

15 Guilty ?

16            THE FOREPERSON:         Guilty .

17            THE CLERK:     Question     73 .     How do you find the

18 defendant , Ruby Bertine          Harden , as to Count 23 , use of

19 a telephone     in furtherance        of the drug conspiracy          on or

20 about March 21 , 2004 :           Guilty or    Not Guilty ?

21            THE FOREPERSON:         We were un able to render         a

22 verdict    for Ruby Bertine         Harden .

23            THE CLERK:     Thank you .         Question   24 -- I mean

24 Count 24 .     Question    74 .     How do you find the defendant ,

25 Paulette     Martin , as to Count 24 , use of a telephone                in




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 1 furtherance     of the drug conspiracy           on or about March

 2 22 , 2004 :    Guilty or     Not Guilty ?

 3            THE FOREPERSON:      Guilty .

 4            THE CLERK:      Count 25 .     How do you find the

 5 defendant , Paulette       Martin , as to Count 25 , possession

 6 with intent     to distribute     heroin       on or about March 22 ,

 7 2004 :     Guilty or    Not Guilty ?

 8            THE FOREPERSON:      Guilty .

 9            THE CLERK:      Count 26 .     Question   76 .     How do you

10 find the defendant , Paulette           Martin , as to Count 26 ,

11 use of a telephone        in furtherance        of the drug

12 conspiracy     on or about March 24 , 2004 :          Guilty or    Not

13 Guilty ?

14            THE FOREPERSON:      Guilty .

15            THE CLERK:      Question     77 .   How do you find the

16 defendant , Learley       Reed Goodwin , as to Count 26 , use of

17 a telephone     in furtherance        of the drug conspiracy       on or

18 about March 24 , 2004 :        Guilty or       Not Guilty ?

19            THE FOREPERSON:      Guilty .

20            THE CLERK:      Count 27 .     Question   78 .     How do you

21 find the defendant , Paulette           Martin , as to Count 27 ,

22 use of a telephone        in furtherance        of the drug

23 conspiracy     on or about March 26 , 2004 :          Guilty or    Not

24 Guilty ?

25            THE FOREPERSON:      Guilty .




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 1            THE CLERK:   Question     79 .   How do you find the

 2 defendant , Reece Coleman      Whiting , as to Count 27 , use

 3 of a telephone     in furtherance      of the drug conspiracy             on

 4 or about March 26 , 2004 :      Guilty or      Not Guilty ?

 5            THE FOREPERSON:    Guilty .

 6            THE CLERK:   Count 28 .     Question   80 .     How do you

 7 find the defendant , Paulette        Martin , as to Count 28 ,

 8 use of a telephone      in furtherance       of the drug

 9 conspiracy     on or about March 26 , 2004 :       Guilty or        Not

10 Guilty ?

11            THE FOREPERSON:    Guilty .

12            THE CLERK:   Count 29 .     Question   81 .     How do you

13 find defendant , Paulette      Martin , as to Count 29 ,

14 possession     with intent   to distribute      cocaine     on or

15 about March 26 , 2004 :      Guilty or      Not Guilty ?

16            THE FOREPERSON:    Guilty .

17            THE CLERK:   Count 30 .     Question   82 .     How do you

18 find the defendant , Paulette        Martin , as to Count 30 ,

19 use of a telephone      in furtherance       of the drug

20 conspiracy     on or about March 29 , 2004 :       Guilty or        Not

21 Guilty ?

22            THE FOREPERSON:    Guilty .

23            THE CLERK:   Count 31 .     Question   83 .     How do you

24 find the defendant , Paulette        Martin , as to Count 31 ,

25 possession     with intent   to distribute      heroin     on or about




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 1 March 29 , 2004 :       Guilty or    Not Guilty ?

 2            THE FOREPERSON:     Guilty .

 3            THE CLERK:     Count 32 .     Question    84 .     How do you

 4 find the defendant , Paulette          Martin , as to Count 32 ,

 5 use of a telephone        in furtherance        of the drug

 6 conspiracy     on or about March 29 , 2004 :          Guilty or       Not

 7 Guilty ?

 8            THE FOREPERSON:     Guilty .

 9            THE CLERK:     Question     85 .    How do you find the

10 defendant , Ruby Bertine       Harden,        as to Count 32 , use of

11 a telephone     in furtherance       of the drug conspiracy           on or

12 about March 29 , 2004 :       Guilty or        Not Guilty ?

13            THE FOREPERSON:     We were un able to render           a

14 verdict    for Ruby Bertine     Harden .

15            THE CLERK:     Count 33 .     Question    86 .     How do you

16 find the defendant , Paulette          Martin , as to Count 33 ,

17 possession     with intent    to distribute        cocaine    on or

18 about March 29 , 2004 :       Guilty or        Not Guilty ?

19            THE FOREPERSON:     Guilty .

20            THE CLERK:     Question     87 .    How do you find the

21 defendant , Ruby Bertine       Harden,        as to Count 33 ,

22 possession     with intent    to distribute        cocaine    on about

23 March 29 , 2004 :       Guilty or    Not Guilty ?

24            THE FOREPERSON:     We were un able to agree on a

25 verdict    for Ruby Bertine     Harden .




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 1            THE CLERK:   Okay .     Count 34 .   Question     88 .    How

 2 do you find the defendant , Lavon Dobie , as to Count 34 ,

 3 use of a telephone      in furtherance       of the drug

 4 conspiracy     on or about March 31 , 2004 :       Guilty or        Not

 5 Guilty ?

 6            THE FOREPERSON:       Guilty .

 7            THE CLERK:   Count 35 .     Question   89 .     How do you

 8 find the defendant , Paulette         Martin , as to Count 35 ,

 9 use of a telephone      in furtherance       of the drug

10 conspiracy     on or about March 31 , 2004 :       Guilty or        Not

11 Guilty ?

12            THE FOREPERSON:       Guilty .

13            THE CLERK:   Count 36 .     Question   90 .     How do you

14 find the defendant , Paulette         Martin , as to Count 36 ,

15 possession     with intent   to distribute      cocaine    base on or

16 about March 31 , 2004 :      Guilty or      Not Guilty ?

17            THE FOREPERSON:       Guilty .

18            THE CLERK:   Count 37 .     Question   91 .     How do you

19 find the defendant , Paulette         Martin , as to Count 37 ,

20 use of a telephone      in furtherance       of the drug

21 conspiracy     on or about April 1st 2004 :        Guilty or        Not

22 Guilty ?

23            THE FOREPERSON:       Guilty .

24            THE CLERK:   Count 38 .     Question   92 .     How do you

25 find the defendant , Paulette         Martin , as to Count 38 ,




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 1 possession     with intent   to distribute      cocaine    on or

 2 about April 1st 2004 :       Guilty or      Not Guilty ?

 3            THE FOREPERSON:    Guilty .

 4            THE CLERK:   Count 39 .     Question   93 .     How do you

 5 find the defendant , Paulette        Martin , as to Count 39 ,

 6 use of a telephone      in furtherance       of the drug

 7 conspiracy     on or about April 3rd 2004 :        Guilty or       Not

 8 Guilty ?

 9            THE FOREPERSON:    Guilty .

10            THE CLERK:   Question     94 .   How do you find the

11 defendant , Derrick     Louis Bynum , as to Count 39 , use of

12 a telephone     in furtherance     of the drug conspiracy          on or

13 about April 3rd 2004 :       Guilty or      Not Guilty ?

14            THE FOREPERSON:    Guilty .

15            THE CLERK:   Count 40 .     Question   95 .     How do you

16 find the defendant , Paulette        Martin , as to Count 40 ,

17 possession     with intent   to distribute      cocaine    base

18 between    on or about April 1st 2004 and April 7th 2004 :

19 Guilty or    Not Guilty ?

20            THE FOREPERSON:    Guilty .

21            THE CLERK:   Question     96 .   If you found the

22 defendant , Paulette     Martin , guilty      as to Count 40 , how

23 do you find as to the amount         of cocaine    base

24 attributable     to the defendant ?

25            It indicate s that you should       pick one .     Which




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 1 one did you pick ?

 2           THE FOREPERSON:       5 0 grams or more .

 3           THE CLERK:    Question     97 .    How do you find the

 4 defendant , Derrick    Louis Bynum , as to Count 40 ,

 5 possession    with intent      to distribute     cocaine      base

 6 between    on or about April 1st 2004          and April 7, 2004 :

 7 Guilty    or Not Guilty ?

 8           THE FOREPERSON:       Guilty .

 9           THE CLERK:    Question     98 .    If you found the

10 defendant , Derrick    Louis Bynum , guilty          as to Count 40 ,

11 how do you find as to the amount             of cocaine      base

12 at tributable   to the defendant ?

13           It indicate s that you should         pick one .      Which

14 one did you pick ?

15           THE FOREPERSON:       5 0 grams or more .

16           THE CLERK:    For the record , Count 41 was

17 intentionally    omit ted .

18           Count 42 .   Question    99 .     How do you find the

19 defendant , Paulette     Martin , as to Count 42 , use of a

20 telephone    in furtherance      of the drug conspiracy             on or

21 about April 9, 2004 :         Guilty or     Not Guilty ?

22           THE FOREPERSON:       Guilty .

23           THE CLERK:    Count 43 .        Question   100 .    How do you

24 find the defendant , Paulette        Martin , as to Count 43 ,

25 possession    with intent      to distribute     heroin      on or about




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 1 April 9, 2004 :        Guilty or    Not Guilty ?

 2            THE FOREPERSON:         Guilty .

 3            THE CLERK:      Count 44 .     Question    101 .     How do you

 4 find the defendant , Paulette           Martin , as to Count 44 ,

 5 use of a telephone        in furtherance         of the drug

 6 conspiracy     on or about April 21 , 2004 :           Guilty or        Not

 7 Guilty ?

 8            THE FOREPERSON:         Guilty .

 9            THE CLERK:      Question     102 .    How do you find the

10 defendant , LaNora       Ali, as to Count 44 , use of a

11 telephone     in furtherance       of the drug conspiracy          on or

12 about April 21 , 2004 :        Guilty or        Not Guilty ?

13            THE FOREPERSON:         Guilty .

14            THE CLERK:      Count 45 .     Question    103 .     How do you

15 find the defendant , Paulette           Martin , as to Count 45 ,

16 possession     with intent     to distribute        cocaine     on or

17 about April 21st 2004 :         Guilty or        Not Guilty ?

18            THE FOREPERSON:         Guilty .

19            THE CLERK:      Question     104 how do you find the

20 defendant , LaNora       Ali, as to Count 45 , possession               with

21 intent     to distribute     cocaine    on or about April 21 ,

22 2004 :     Guilty or    Not Guilty ?

23            THE FOREPERSON:         Not guilty .

24            THE CLERK:      Question     105 .    If you found the

25 defendant , LaNora       Ali, "not guilty " as to Count 45 ,




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 1 possession     with intent     to distribute     cocaine     on or

 2 about April 21 , 2004 , how do you find her with respect

 3 to the lesser     included     offense    of possession      of cocaine

 4 on or about April 21st 2004 :            Guilty or   Not Guilty ?

 5            THE FOREPERSON:         Guilty .

 6            THE CLERK:      Count 46 .    Question    106 .   How do you

 7 find the defendant , Paulette           Martin , as to Count 46 ,

 8 use of a telephone      in furtherance        of the drug

 9 conspiracy     on or about April 23 , 2004 :         Guilty or       Not

10 Guilty ?

11            THE FOREPERSON:         Guilty .

12            THE CLERK:      Count 47 .    Question    107 .   How do you

13 find the defendant , Paulette           Martin , as to Count 47 ,

14 use of a telephone      in furtherance        of the drug

15 conspiracy     on or about April 23 , 2004 :         Guilty    or Not

16 Guilty ?

17            THE FOREPERSON:         Guilty .

18            THE CLERK:      108 .    How do you find the defendant ,

19 Lavon Dobie , as to Count 47 , use of a telephone               in

20 furtherance     of the drug conspiracy         on or about April

21 23 , 2004 :    Guilty or     Not Guilty ?

22            THE FOREPERSON:         Guilty .

23            THE CLERK:      Count 48 .    Question    109 .   How do you

24 find the defendant , Paulette           Martin , as to Count 48 ,

25 use of a telephone      in furtherance        of the drug




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 1 conspiracy     on or about April 24 , 2004 :        Guilty or    Not

 2 Guilty ?

 3            THE FOREPERSON:    Guilty .

 4            THE CLERK:   Question     110 .    How do you find the

 5 defendant , Learley     Reed Goodwin , as to Count 48 , use of

 6 a telephone     in furtherance     of the drug conspiracy        on or

 7 about April 24 , 2004 :      Guilty or       Not Guilty ?

 8            THE FOREPERSON:    Guilty .

 9            THE CLERK:   Count 49 .     Question    111 .    How do you

10 find the defendant , Paulette        Martin , as to Count 49 ,

11 use of a telephone      in furtherance        of the drug

12 conspiracy     on or about April 25 , 2004 :        Guilty or Not

13 Guilty ?

14            THE FOREPERSON:    Guilty .

15            THE CLERK:   Question     112 .    How do you find the

16 defendant , Reece Coleman      Whiting , as to Count 49 , use

17 of a telephone     in furtherance      of the drug conspiracy          on

18 or about April 25 , 2004 :       Guilty or      Not Guilty ?

19            THE FOREPERSON:    Guilty .

20            THE CLERK:   Count 50 .     Question    113 .    How do you

21 find the defendant , Paulette        Martin , as to Count 50 ,

22 use of a telephone      in furtherance        of drug conspiracy       on

23 or about May 3, 2004 :       Guilty or       Not Guilty ?

24            THE FOREPERSON:    Guilty .

25            THE CLERK:   Question     114 .    How do you find the




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 1 defendant , Lavon Dobie , as Count 50 , use of a telephone

 2 in furtherance     of the drug conspiracy           on or about May

 3 3, 2004 :    Guilty or    Not Guilty ?

 4            THE FOREPERSON:      Guilty .

 5            THE CLERK:    Count 51 .      Question    115 .   How do you

 6 find the defendant , Paulette         Martin , as to Count 51 ,

 7 use of a telephone       in furtherance       of the drug

 8 conspiracy     on or about May 5th 2004 :           Guilty   or Not

 9 Guilty ?

10            THE FOREPERSON:      Guilty .

11            THE CLERK:    Question     116 .   How do you find the

12 defendant , Learley      Reed Goodwin , as to Count 51 , use of

13 a telephone     in furtherance      of the drug conspiracy            on or

14 about May 5th 2004 :         Guilty or   Not Guilty ?

15            THE FOREPERSON:      Guilty .

16            THE CLERK:    Count 52 .      Question    117 .   How do you

17 find the defendant , Paulette         Martin , as to Count 52 ,

18 use of a telephone       in furtherance       of the drug

19 conspiracy     on or about May 7, 2004 :         Guilty or      Not

20 Guilty ?

21            THE FOREPERSON:      Guilty .

22            THE CLERK:    Count 53 .      Question    118 .   How do you

23 find the defendant , Paulette         Martin , as to Count 53 ,

24 use of a telephone       in furtherance       of the drug

25 conspiracy     on or about May 11 , 2004 :          Guilty or    Not




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 1 Guilty ?

 2            THE FOREPERSON:      Guilty .

 3            THE CLERK:   Question     119 .   How do you find the

 4 defendant , Lavon Dobie , as to Count 53 , use of a

 5 telephone    in furtherance      of the drug conspiracy         on or

 6 about May 11 , 2004 :        Guilty or   Not Guilty ?

 7            THE FOREPERSON:      Guilty .

 8            THE CLERK:   Count 54 .       Question    120 .   How do you

 9 find the defendant , Paulette        Martin , as to Count 54 ,

10 use of a telephone      in furtherance       of the drug

11 conspiracy     on or about May 15 , 2004 :          Guilty or   Not

12 Guilty ?

13            THE FOREPERSON:      Guilty .

14            THE CLERK:   Question     121 .   How do you find the

15 defendant , Learley     Reed Goodwin , as to Count 54 , use of

16 a telephone     in furtherance     of the drug conspiracy            on or

17 about May 15 , 2004 :        Guilty or   Not Guilty ?

18            THE FOREPERSON:      Guilty .

19            THE CLERK:   Count 55 .       Question    122 .   How do you

20 find the defendant , Paulette        Martin , as to Count 55 ,

21 possession     with intent     to distribute    cocaine      on or

22 about May 15 , 2004 :        Guilty or   Not Guilty ?

23            THE FOREPERSON:      Guilty .

24            THE CLERK:   Question     123 .   If found the

25 defendant , Paulette     Martin , guilty      as to Count 55 , how




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 1 do you find as to the amount         of cocaine    attributable        to

 2 the defendant ?

 3         It indicate s that you should          pick one .     Which

 4 one did you pick ?

 5         THE FOREPERSON:         500 grams or more .

 6         THE CLERK:      Question    124 .    How do you find the

 7 defendant , Learley     Reed Goodwin       as to Count 55 ,

 8 possession     with intent   to distribute      cocaine    on or

 9 about May 15 , 2004 :     Guilty or    Not Guilty ?

10         THE FOREPERSON:         Guilty .

11         THE CLERK:      Question    125 .    If you found the

12 defendant , Learley     Reed Goodwin , guilty      as to Count 55 ,

13 how do you find as to the amount            of cocaine

14 attributable     to the defendant ?

15         It indicate s that you should          pick one .     Which

16 one did you pick ?

17         THE FOREPERSON:         500 grams or more .

18         THE CLERK:      Question    126 .    How do you find the

19 defendant , Paulette     Martin , as to Count 56 , possession

20 with intent     to distribute    heroin , cocaine       or cocaine

21 base on or about May 16 , 2004 :           Guilty or    Not Guilty ?

22         THE FOREPERSON:         Guilty .

23         THE CLERK:      Question    127 .    If you found the

24 defendant , Paulette     Martin , guilty      as to Count 56 , how

25 do you find as to the type of controlled               substance




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 1 involve d?     As to heroin ?

 2            THE FOREPERSON:      Yes .

 3            THE CLERK:    Cocaine ?

 4            THE FOREPERSON:      Yes .

 5            THE CLERK:    Cocaine     base ?

 6            THE FOREPERSON:      Yes .

 7            THE CLERK:    Question       128 .   If you found the

 8 defendant , Paulette      Martin    guilty      as to Count 56 , and

 9 if you found that cocaine          base , common ly known as

10 "crack cocaine ," was involve d, how do you find as to

11 the amount     of co caine base attributable          to the

12 defendant ?

13            It indicate s that you should          pick one .    Which

14 one did you pick ?

15            THE FOREPERSON:      50 grams or more .

16            THE CLERK:    Question       129 .   How do you find the

17 defendant , LaNora      Ali, as to Count 56 , possession          with

18 intent   to distribute       heroin , cocaine      or cocaine   base on

19 or about May 16 , 2004 :        Guilty or       Not Guilty ?

20            THE FOREPERSON:      Guilty .

21            THE CLERK:    For the record , did you indicate

22 anything     under Question     130 ?

23            THE FOREPERSON:      No , we did not .

24            THE CLERK:    Question       131 .   If you found the

25 defendant , LaNora      Ali, guilty       as to Count 56 or the




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 1 less er included    offense , how do you find as to the type

 2 of controlled     substance   involve d?          Heroin ?

 3            THE FOREPERSON:    Yes .

 4            THE CLERK:   Cocaine    ?

 5            THE FOREPERSON:    Yes .

 6            THE CLERK:    Cocaine       base ?

 7            THE FOREPERSON:    Yes .

 8            THE CLERK:    Question       132 .    If you found the

 9 defendant , LaNora      Ali, guilty       as to Count 56 or the

10 less er included    offense , and if you found that cocaine

11 base , common ly known as "crack cocaine ," was involve d,

12 how do you find as to the amount                of cocaine    base

13 attributable     to the defendant ?

14            It indicate s that you should           pick one .     Which

15 one did you pick ?

16            THE FOREPERSON:    50 grams or more .

17            THE CLERK:    Count 57 .       Question    133 .     How do you

18 find the defendant , Paulette            Martin , as to Count 57 ,

19 use of a telephone       in furtherance          of the drug

20 conspiracy     on or about May 18 , 2004 :           Guilty or       Not

21 Guilty ?

22            THE FOREPERSON:    Guilty .

23            THE CLERK:    Question       134 .    How do you find the

24 defendant , Lavon Dobie , as to Count 57 , use of a

25 telephone    in furtherance       of the drug conspiracy             on or




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 1 about May 18 , 2004 :        Guilty or    Not Guilty ?

 2            THE FOREPERSON:      Guilty .

 3            THE CLERK:   Count 58 .       Question    135 .   How do you

 4 find the defendant , Paulette        Martin , as to Count 58 ,

 5 use of a telephone      in furtherance       of the drug

 6 conspiracy     on or about May 28 , 2004 :          Guilty or    Not

 7 Guilty ?

 8            THE FOREPERSON:      Guilty .

 9            THE CLERK:   Question     136 .   How do you find the

10 defendant , Reece Coleman        Whiting , as to Count 58 , use

11 of a telephone     in furtherance        of the drug conspiracy             on

12 or about May 28 , 2004 :        Guilty or    Not Guilty ?

13            THE FOREPERSON:      Guilty .

14            THE CLERK:   Question     137 .   Count 59 .      How do you

15 find the defendant , Derrick        Louis Bynum , as to Count

16 59 , possession    of a firearm     in connection        with drug

17 trafficking     on or about June 1st 2004 :           Guilty or       Not

18 Guilty ?

19            THE FOREPERSON:      Guilty .

20            THE CLERK:   Count 60 .       Question    138 .   How do you

21 find the defendant , Derrick        Louis Bynum , as to Count

22 60 , possession    of a firearm     by -- possession         of firearm

23 by felon on or about June 1st 2004 :            Guilty or       Not

24 Guilty ?

25            THE FOREPERSON:      Guilty .




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 1            THE CLERK:      Count 61 .     Question       139 .   How do you

 2 find the defendant , Lavon Dobie , as to Count 61 ,

 3 possession      of a firearm     in connection       with drug

 4 trafficking      on or about June 1st 2004 :             Guilty or    Not

 5 Guilty ?

 6            THE FOREPERSON:       Guilty .

 7            THE CLERK:      Count 62 .     Question       140 .   How do you

 8 find the defendant , Paulette            Martin , as to Count 62 ,

 9 possession      with intent    to distribute       cocaine       base on or

10 about June 1st 2004 :         Guilty or     Not Guilty ?

11            THE FOREPERSON:       Guilty .

12            THE CLERK:      Question     141 .   If you found the

13 defendant , Paulette        Martin , guilty     as to Count 62 , how

14 do you find as to the amount             of cocaine      base

15 attributable       to the defendant ?

16            It indicate s you should         pick one .      Which one did

17 you pick ?

18            THE FOREPERSON:       Five grams or more .

19            THE CLERK:      Thank you .

20            Would either     counsel     like the jury poll ed ?

21            MR. MONTEMARANO :         We would , Your Honor .

22            MR. MCKNETT :     Yes .

23            THE COURT:      Poll the ju ry .

24            BY THE CLERK:

25 Q.         Will the foreperson         please   rise ?




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 1            Having   heard the verdict      question s as read by

 2 the clerk and answered         by you , the foreperson , are

 3 those your verdict s?

 4 A.         Yes , it is .

 5 Q.         Thank you .     You may be seat ed .

 6            Would the next juror please         rise ?      Having   heard

 7 the verdict      question s as read by the clerk and answered

 8 by your foreperson , are those your verdict s also ?

 9 A.         Yes , they are .

10 Q.         Thank you .     You may be seat ed .

11            Would the next juror please         rise ?      Having   heard

12 the verdict      question s as read by the clerk and answered

13 by your foreperson , are those your verdict s also ?

14 A.         Yes , it is .

15 Q.         Thank you .     You may be seat ed .

16            Would the fourth      juror please     rise ?     Having

17 heard the verdict        question s as read by the clerk and

18 answered     by your foreperson , are those your verdict s

19 also ?

20 A.         Yes , they are .

21 Q.         Thank you .     You may be seat ed.

22            Would the next juror please         rise ?      Having   heard

23 the verdict      question s as read by the clerk and answered

24 by your foreperson , are those your verdict s also ?

25 A.         Yes , it is .




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 1 Q.         Thank you .     You may be seat ed .

 2            Would the next juror please         rise ?    Having    heard

 3 the verdict        question s as read by the clerk and answered

 4 by your foreperson , are those your verdict s also ?

 5 A.         Yes , they are .

 6 Q.         Thank you .     You may be seat ed .

 7            Would the next juror please         rise ?    Having    heard

 8 the verdict        question s as read by the clerk and answered

 9 by your foreperson , are those your verdict s also ?

10 A.         Yes , they are .

11 Q.         Thank you .     You may be seat ed .

12            Would the next juror please         rise ?    Having    heard

13 the verdict        question s as read by the clerk and answered

14 by your foreperson , are those your verdict s also ?

15 A.         Yes , they are .

16 Q.         Thank you .     You may be seat ed .

17            Would the next juror please         rise ?    Having    heard

18 the verdict        question s as read by the clerk and answered

19 by your foreperson , are those your verdict s also ?

20 A.         Yes .

21 Q.         Thank you .     You may be seat ed .

22            Would the tenth juror please         rise ?    Having    heard

23 the verdict        question s as read by the clerk and answered

24 by your foreperson , are those your verdict s also ?

25 A.         Yes , they are .




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 1 Q.         Thank you .     You may be seated.

 2            Would the next juror please         rise ?   Having heard

 3 the verdict        question s as read by the clerk and answered

 4 by your foreperson , are those your verdict s also ?

 5 A.         Yes , they are .

 6 Q.         Thank you .     You may be seat ed .

 7            Would the twelfth       juror please     rise ?   Having

 8 heard the verdict        question s as read by the clerk and

 9 answered     by your foreperson , are those your verdict s

10 also ?

11 A.         Yes , they are .

12 Q.         Thank you .     You may be seat ed .

13            THE CLERK:     Shall I    hark en the jury ?

14            THE COURT:      Yes .

15            THE CLERK:      Members of the jury      , hark en to the

16 verdict s as the court hath record ed them :             The

17 question s and answer s there to having           been read , you and

18 each of you have answered           them as said by your

19 foreperson , and so you say all ?

20            JURY:     (Affirmative    response s.)     "Yes."

21            THE CLERK:      Thank you .

22            Verdict    record ed , Your Honor .

23            THE COURT:      All right .    Counsel , approach     the

24 bench .

25                     (At the bar of the court.)




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 1             THE COURT:       Is there a motion     as to Ms. Hard en ?

 2 Are you moving       for a mis trial ?      You're    on a roll .    Your

 3 motion      is grant ed .     I will g rant a mis trial as to Ms.

 4 Hard en .

 5             MS. JOHNSTON:       Your Honor , the government         would

 6 request      that the court make an inquiry           of the foreman

 7 concern ing Ms. Hard en so that counsel              can make a --

 8             THE COURT:       Counsel , what I'm going to do now is

 9 --

10             MS. GREENBERG:       For the record , Mr. Sussman         has

11 no objection       to the court find ing out the number

12 break down aid ing counsel in           the next step .

13             THE COURT:       Your objection     is note d.

14             MS. GREENBERG:       No .   There is no objection .

15             THE COURT:       He has no objection ?

16             MS. GREENBERG:       No objection .

17             THE COURT:       I mis understood .    It 's hard to hear .

18             I think it      would be of help to both sides to

19 know the break down .

20             MS. JOHNSTON:       It would be .

21             THE COURT:       Counsel , what I'm    going to do now is

22 these juror s need to go home .            I'm going to set

23 sentenci ng date s.          My practice   is to meet with the

24 juror s personally          and thank them .    I'm going to do

25 that , and I'm going to ask that counsel               and the parti es




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 1 remain    in the courtroom .       It will take me five minute s

 2 to go back and thank them and send them on their way ,

 3 and I will      do that , and then off you go .

 4                          (Back in open court .)

 5           THE COURT:      Ladies and gentlemen    , there was a

 6 famous    phrase     that Gerald   Ford said when he pardoned

 7 Richard    Nixon :    " Our long national     nightmare   is over ."

 8 You are finish ed .       You are conclude d.     You are

 9 dis charge d.      You may go home , and you are free .

10           I would like to ask you to go back to the jury

11 room , because       I would like to come back and personally

12 thank each and every one of you myself .             I have other

13 matter s to attend       to , so I will only be able to meet

14 with you brief ly , but I would like to thank you from

15 the bottom      of my heart on behalf      of the court for your

16 extraordinary        devotion   to the significant    under taking

17 that this trial remit ted .         So , you may go back to the

18 jury room     and I'll be right back .

19           Counsel     and the parti es and spectat or s are

20 direct ed to remain       in the courtroom .     Do not de part the

21 courtroom .      I want to give the juror s a chance         to meet

22 with me and then de part the courthouse .

23                          (Jury excused     at 5:51 p.m. )

24                          (Off the record at 5:51 p.m.)

25                          (O n the record    at 6:02 p.m. )




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 1           THE COURT:      Counsel , I need to establish

 2 sentenci ng date s.     Before      I begin this process    of

 3 sentencing     date s with you , does any counsel       believe

 4 that more than one hour would be required             for the

 5 sentenci ng of his or her client ?

 6           MS. JOHNSTON:      Absolute ly , Your Honor .     I

 7 believe     we have to deal with forfeiture        issue s, and the

 8 court will have to set a hearing           in for forfeiture

 9 matter s.     I would suggest       that the court set aside a

10 full day .

11           THE COURT:      For each defendant ?

12           MS. JOHNSTON:      No .    For perhaps   handli ng the

13 forfeiture     issue s, as we ll as the sentencings        at one

14 time on one day .

15           THE COURT:      Let me see if I can find a day

16 that 's wide open .     It 's going to be a while .

17           MS. JOHNSTON:      I can appreciate      that , Your

18 Honor .

19           Your Honor is going to hear Rule 33 motion s from

20 me on 55 count s.      Let 's just say I'm bet ting that it

21 will be a lit tle long er than an hour .

22           THE COURT:      Let 's see if we can find a date .

23           I mean , the only way I'm going to be able to do

24 something     in the normal    sequence    of thing s is going to

25 be if I double     book and see if I can eliminate




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 1 something .

 2            MS. GREENBERG:         Your Honor , can I suggest           we

 3 just consult     your chamber s as to appropriate                 date s?

 4            THE COURT:      I want to get these order s entered .

 5 I'll just pick a date .            I'll find one .

 6            How is December        19 ?     All day , for all

 7 sentencings     of all defendant s?

 8            MR. MARTIN:         Your Honor , for the record , Anthony

 9 Martin .    I'm in trial before             Judge Williams       on the

10 nineteenth .     Well , the trial start s on the fourth                   and

11 it 's expected    to last through            December   22nd .

12            THE COURT:      We're going to have to go to January

13 then .

14            What about January            2nd ?

15            MS. JOHNSTON:         Your Honor , I don't think          that 's

16 a good day for the government , because                 the court know s

17 that I'm start ing a three -defendant              multiple       murder

18 drug conspiracy       trial the next day .

19            THE COURT:      You create d that opening             for me and

20 now you won't let me use it .

21            MS. JOHNSTON:         No .     I agreed to give defense

22 counsel    that one day after the holida ys to prepare .

23            THE COURT:      That case last s for how long ?

24            MS. JOHNSTON:         I think the court said it goes

25 through    February     23 .




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 1            MR. MONTEMARANO :        Your Honor , could it be

 2 possible    that we do post -trial motion s and forfeiture

 3 on a soon er date and then the sentencings                  down the

 4 road ?

 5            MS. JOHNSTON:      That would be agreeable           to the

 6 government .

 7            MR. MONTEMARANO :        We can do all the other stuff

 8 in advance     of the PSRs being complete d.               It seem s that

 9 the sentencings     might not be quite as involve d -- I was

10 speak ing to    the length     of post -trial motion s.          In that

11 there are 851 notice s on the table , it seem s that

12 sentencings     won't be quite as ex tend ed as otherwise .

13            THE COURT:      Yeah .

14            MS. JOHNSTON:      I guess the court could try to do

15 it on Friday , September        29 , which is the third day of

16 the third week of the Martin               insurance    fraud trial .

17            THE COURT:      What 's the date again ?

18            MS. JOHNSTON:      September       29 .     I don't know     if

19 that 's a religious     holiday .

20            MR. MONTEMARANO :        No .    Rosh Hashanah     is the week

21 before .

22            I don't think     the defense       will have all of its

23 post -trial motion s complete          and have time for the

24 government     to respond .

25            THE COURT:      Yeah .    That 's kind of fast .           How




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 1 much time do you believe          would be required          for the

 2 post -trial motion s and forfeiture ?              All day .

 3            MR. MONTEMARANO:       Better    part of .

 4            MS. JOHNSTON:      I think the court has had some

 5 experience     with the attorney s in this case to know that

 6 they don't tend to be short .

 7            THE COURT:      That includes        you .

 8            MS. JOHNSTON:      I don't believe           so , Your Honor .

 9 If we did a word -for -word comparison , I think the

10 government     would be closer      to the bottom          of that list .

11            THE COURT:      I already    asked about this date and

12 somebody     didn't   like it .

13            No , I can't do that .

14            Well , I'll tell you what I'm going to do .                 My

15 schedule     is an un believable       mess .     I can take some

16 civil case s and just move them off the calendar

17 somewhere     else to get this done .

18            What does December      4 look like ?

19            MR. MONTEMARANO:       That 's the day Mr. Martin

20 begin s --

21            MR. MARTIN:      I begin my trial on December            4th.

22            THE COURT:      Oh , you begin the trial .

23            MR. MARTIN:      December    4 before        Judge Williams .

24            THE COURT:      He 's start ing it on a Monday ?

25            MR. MARTIN:      That 's what I have here .           I have ,




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 1 "D ecember    4, '06 , Jair Francis        trial ."     I don't know      if

 2 that 's when he 's going to do pre trial or -- I                 just know

 3 I've got     December   4 through      December      22 block ed off .

 4            THE COURT:      He 's probably    gone for the day .

 5            MS. JOHNSTON:      Your Honor , could the court maybe

 6 do it on the Thanksgiving         week ?     I don't know        if the

 7 court has some day s available .

 8            THE COURT:      Let me take a look .

 9            MS. JOHNSTON:      November     20 or 21 .

10            THE COURT:      I can't do November 20th          because      I'm

11 return ing from out of the country .

12            November 21st     is open .

13            MR. MONTEMARANO :     I'm good on November 21st .

14            THE COURT:      Tuesday , November        21 for post -trial

15 motion s and forfeiture        allegation s?

16            MR. SUSSMAN :     I don't think        I'm involve d.

17            THE COURT:      I think you're     out of this fight .

18            MR. SUSSMAN :     Right .     We may need a status        date ,

19 and we can do that much earlier             -- sometime     in

20 September     -- just to    see what's      what .

21            THE COURT:      I can do that with just you and the

22 government .

23            MR. SUSSMAN :     That 's exact ly right .

24            THE COURT:      Get her on the phone and call my

25 office   and get a time .       We 'll have a telephone




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 1 conference     call any time you want .          Pick a time with my

 2 office .     You can go home .        You're   finish ed .

 3            Tuesday , November       21 for post -trial -- hear ing

 4 on post -trial motion s and forfeiture              allegation s, all

 5 right ?    I'll do that at 9:30 .

 6            MR. MONTEMARANO:         Your Honor , so the record          is

 7 clear , I'll be filing           a motion   in blank form under

 8 Rule s 29 and 33 , probably          as early as Tuesday        or

 9 Wednesday     of next week .

10            THE COURT:     You mean one that does n't tell me

11 anything .

12            MR. MONTEMARANO:         Absolute ly .    It will tell you

13 nothing    except   maybe count number s, but there will be

14 -- within     a week to ten day s after that a rather

15 ex tend ed one .

16            THE COURT:     The real thing .

17            MR. MONTEMARANO:         It will probably     be something

18 like War & P eace , only bigger .

19            THE COURT:     Yes .

20            MR. MONTEMARANO:         That being said , that all

21 depends    on whether     or not     we're in trial .        That was

22 something     else we were going to discuss            today , the

23 trial on September        12 .

24            MR. SUSSMAN:      Judge , I'm sorry .       My client      and I

25 are going to take your advice , and we are going to




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 1 leave .

 2           THE COURT:    You are free to go , sir .

 3           She remain s on her existing           condition s of

 4 re lease .

 5           Are we all in agreement , that assuming              that we

 6 go through    the forfeiture     allegation s and the post -

 7 trial motion s on November       21 , that I could pick a whole

 8 slew of one hour slot s?

 9           MR. MONTEMARANO :      Yes , Your Honor .

10           THE COURT:    It 's going to be a lot more flexible

11 for me to do that .

12           MS. JOHNSTON:     Yes .

13           MR. MONTEMARANO :      We agree , Your Honor .

14           THE COURT:    Let me find some one hour slot s.

15 I'll start with you , Mr. Montemarano .

16           MR. MONTEMARANO :      I'm very flexible , Your Honor .

17 I'll be the easy one .       You might want to bid some of

18 these date s out for other people .          I have     no trial s

19 scheduled    between   now and the end of the year .

20           THE COURT:    You lucky devil .

21           MR. MONTEMARANO :      Excuse   me .     Excepting    the one

22 on September    12 .

23           THE COURT:    Okay .

24           MS. JOHNSTON:     Your Honor , if I might suggest .

25 The court was going       to use December        19 for an all day




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 1 session .      I think only Mr. Martin        had a problem     with

 2 that day .

 3            THE COURT:      That 's right .    You're   correct .

 4            MS. JOHNSTON:       You could set in a number        of them

 5 on that day .

 6            THE COURT:      How about we do some sentencings            on

 7 December     19 ?    I'll do Ms. Martin      at 9:30 on December         19

 8 --

 9            MR. HALL:      I'm available , Your Honor .

10            THE COURT:      Okay .   I will do Mr. Whiti ng at

11 10 :30 .

12            Mr. Bynum at 11 :30 ?       Is that all right , Mr.

13 Mitchell ?

14            MR. MITCHELL:       Yes , Your Honor .

15            THE COURT:      I'll take a lunch break .

16            How about Ms. Dobie at 1:00 ?          Is that all right ,

17 Mr. Ward ?

18            MR. WARD:      Yes, sir .    That 's fine , sir .

19            THE COURT:      And Ms. Ali at 2:00 ?       Does that

20 work ?

21            MR. MCKNETT:      Yes , Your Honor .

22            THE COURT:     W hat is the government 's position

23 with respect        to Ms. Ali remaining      on re lease status ?

24            MS. JOHNSTON:       Your Honor , I belie ve that

25 Statute     3143 require s that Ms. Ali be detain ed at this




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 1 time , absent    exceptional , extraordinary      circumstance s.

 2 I don't believe     there are any such circumstance s in

 3 this case , much the same as it was with Ms. Johnson              and

 4 Mr. Scott who were out on bond during           the first trial .

 5 Li ke wise , I think Mr. Scott had no prior convictions               as

 6 well .    So , we would ask the court to order her detain ed

 7 at this time , based on the convictions          and the   jury 's

 8 verdict .

 9           THE COURT:       Mr. McKnett ?

10           MR. MCKNETT :      Your Honor , Ms. Ali has attend ed

11 every single     court session     without   even being one

12 minute late.      Mr. Langston , from Pre trial , has

13 recommend ed -- I think the court may have           a copy of

14 this letter     date d August    8 in which he says that she

15 has report ed as direct ed , sought        permission   before

16 traveling ; all of her urine specimen s have been

17 negative .     He recommends     that she be continued     on the

18 current     condition s.

19           Ms. Ali has matter s that -- she would like to

20 address     her employ ment situation .      She needs to re sign

21 from her job , obvious ly .       I think there is very little ,

22 if any , risk or even suspicion        that Ms. Ali would not

23 report    as the court would direct .        I would ask the

24 court to find that her circumstance s are such that they

25 allow the court to allow her to self- report            at a date




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 1 to be set by the court .         Ms. Ali is not asking       for a

 2 long time , but she has matter s in her life that need to

 3 be address ed .

 4            Her mother    is visiting    with her , and she needs

 5 to make sure that her mother           is taken care of .     She

 6 needs to re solve her issue s at work .          There are -- she

 7 needs to transfer        property   -- funds from her name and

 8 her bank account s to her husband .           She can do that

 9 within    a relative ly short period       of time .

10            Ms. Ali, I think , will stand up here and swear

11 to the court that she will follow           whatever     direction

12 the court gives her as far as           report ing .    I would ask

13 the court to allow her to do that .

14            MS. JOHNSTON:     Your Honor , the circumstance s

15 that Ms. Ali has just de scribe d are no different                from

16 any other individual        who 's been work ing and on re lease

17 and has been convict ed .        Quite frankly , I don't believe

18 that the court has much discretion            in this because       of

19 Title 18 , Section       3143 (a)(2)   that says that the

20 judicial    officer     shall order that a person        who has been

21 found guilty      of an offense     in a case de scribe d in

22 subparagraph      (a), (b) or (c)      of subsection     (f)(1)    of

23 Section    34 12, and the drug conspiracy        involving    50

24 grams or more of crack carr ies a maximum              sentence    of

25 life -- i t is one of those penalties           -- and is await ing




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 1 im position    of sentence     shall be detain ed , unless        the

 2 court finds there 's a substantial          likelihood    that a

 3 motion    for acquittal    or new trial will be grant ed or an

 4 attorney     for the government     has recommend ed that no

 5 sentence     of imprisonment     be im pose d on the person .

 6   Again , this crime carri es a mandatory         minimum       sentence

 7 of ten year s in prison        and if the court finds by clear

 8 and convinci ng evidence        that the person    is not like ly

 9 to flee or pose a danger .

10            I don't have   any dis agreement     with what Mr.

11 McKnett    has said in term s of whether       or not she 's a

12 danger to     the community     or like ly to flee .     However ,

13 there certain ly is -- I don't believe           the court is

14 going to find that there 's a substantial            likelihood

15 that the court would now grant a motion            of acquittal          or

16 new trial in as much as the         court has den ied the

17 motion s prior to the submission         to the jury .

18            The only possible     way to get around       that

19 pro vision    is under 3145 (c), which reference s if it is

20 clear ly shown that there are exceptional            reason s why

21 such person 's detention        would not be appropriate .

22 Certain ly Ms. Ali can sign any transfer           of asset paper s

23 from her place of detention .         Her husband      is here .        He

24 certain ly can deal with any issue s with her mother .                   As

25 I said , I believe     the court should      treat her just as




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 1 the court has treat ed other people .

 2            Mr. Scott was concerned       about his min or children

 3 and want ing to make arrangements          for them .     He had

 4 employ ment he had to leave .          Like wise , he had no prior

 5 record .     We would ask the court to follow           the

 6 pro vision s of 3143 and order her detain ed .

 7            THE COURT:     All right .    I will direct        that she

 8 be detain ed .

 9            MR. MCKNETT:     Your Honor , may I just respond ?

10            THE COURT:     Yeah .

11            MR. MCKNETT:     A s the court may recall , Ms. Ali's

12 husband     does not drive .       All of the property        that they

13 own is in her name , not in his name .           Ms. Ali is not

14 asking     for a lengthy    period    of time , Your Honor .       Just

15 a couple     of day s would be -- next Tuesday          would be more

16 than sufficient     for her to transfer       all the property

17 and to arrange     for her mother       to return   to New Jersey .

18            Ms. Johnston    has admitted    that there is nothing

19 -- there is no risk that Ms. Ali is a risk flight                  or

20 danger     to the community .       Ms. Ali has come to court

21 every single     day since June 6 without        any problem s.

22 She has not im pose d any burden         on the court at all , and

23 all she is asking       for is a matter     of about 72 hour s to

24 tidy up issu es in her life that need to be tidi ed up

25 before     she goes into custody .       If the court want s to do




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 1 something     different , the court could put her on

 2 electron ic monitoring      if the court is concerned        at all .

 3           MS. JOHNSTON:      I hate to sound coldhearted , but

 4 the truth of the matter          is that the law says what the

 5 law says .     These are not exceptional       circumstance s.

 6 Furthermore , this woman has had 12 week s -- 11 or 12

 7 week s since this trial start ed -- know ing the potential

 8 penalty     she was faci ng , she had plenty     of time to put

 9 her paperwork       in order .    What we're asking   the court to

10 do is follow       the law and treat her as the court has

11 treat ed other similar      defendant s in this case .       There

12 is nothing     unique   about Ms. Ali 's situation .

13           MR. MCKNETT :     As Ms. Johnston    has point ed out,

14 Your Honor , the law give s the court discretion .            I'm

15 simply    asking    the court to exercise     its discretion     for

16 a short period       of time .

17           THE COURT:      I've concluded   that to the ex tent

18 th at I have the discretion , I'm not going to exercise

19 it .   I believe     the statute    is fair ly clear , and I'm not

20 able to find by clear and convinci ng evidence            that

21 she 's not like ly to pose a danger        to any other person

22 or flee .     According ly , I'm going to enter an order of

23 detention     pend ing sentenci ng .

24           Mr. Good win -- his sentenci ng date can't be

25 December 19 th .      Mr. Martin , I know that Judge Williams




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 1 isn't going to sit five day s a week .              It may be an

 2 extraordinary     case that he 's beginning          it on December

 3 4th, but --

 4            MR. MARTIN:     Let me do this , Your Honor .

 5 Tomorrow     morn ing , first thing , let me call his chamber s

 6 and make sure that I haven't              made an error here , since

 7 you've     point ed out that Monday         is the fourth .      It could

 8 also be that out of an abundance              of caution   I just

 9 block ed off the day before         the trial was to begin and a

10 day or two after it .         Sometimes      I do that .

11            THE COURT:     One other suggestion         I have is , I

12 could set your client 's sentenci ng on December 19th                 at ,

13 like , 4:30 and probably        not interfere       with this case at

14 all .     Would that work ?

15            MR. MARTIN:     That would work .        Any day , really ,

16 at 4:30 .

17            THE COURT:     Let me do this .        Let me set your

18 client 's sent encing      for 4:30 .

19            All counsel    should   know I'm going to        enter this

20 order .     If it turn s out these date s will not work for

21 somebody , contact       my chamber s and we will work a new

22 date out , but I don't like to             have un dis close d

23 sentenci ng order s with no date in them .

24            With respect    to Paulette       Martin , I'm set ting it

25 for 9:30 a.m. on December          19 .     I'm not going to       reel




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 1 off all the date s in all of these order s for everybody

 2 here , but the    first date that is reflect ed in term s of

 3 when a PSR is require d to be prepared           is October    17 .

 4 So , that 's done for Ms. Martin .

 5            For Mr. Whiti ng it 's 10 :30 a.m. on December         19 .

 6            I believe    that cover s everything .

 7            MS. GREENBERG:     Judge , can I bring up one

 8 additional     matter ?

 9            THE COURT:     Yes, ma'am .

10            MS. GREENBERG:     We were discus sing , while the

11 court was with the jury -- we have a September               12 trial

12 pend ing before    this court with certain        of these

13 defendant s.

14            THE COURT:     Which of the defendant s in common

15 is that case ?     I forget .

16            MS. GREENBERG:     Your Honor , we have Ms. Martin ,

17 Mr. Good win , Ms. Dobie and Ms. Ali .

18            THE COURT:     Okay .

19            MS. GREENBERG:     We 've discuss ed with Mr. Mart in,

20 in light    of the situation       with his client , that we will

21 not be proceed ing against         Mr. Good win and we will

22 dis miss those charge s relating         to the insurance     fraud .

23            THE COURT:     As to Mr. Good win ?

24            MS. GREENBERG:     As to Mr. Good win .

25            We are prepare d to proceed      to trial on September




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 1 12 as to Ms. Martin , even though         her exposure     is

 2 similar   to Mr. Good win 's .     It just does n't make sense

 3 without   Ms. Martin , and to proceed        without   Ms. Martin

 4 would n't make sense .     It would be Ms. Martin , Ms. Dobie

 5 and Ms. Ali.    I've told all counsel        we are prepared         to

 6 also dis miss the insurance        fraud charge s against       all of

 7 those defendant s and not proceed         to trial .

 8           However , if the case is remand ed from the Fourth

 9 Circuit   on the drug case , we would like to have the

10 opportunity    to re in state those charge s.       We don't want

11 to dis miss the charge s if we don't have that agreement

12 back from the defendant s and defense          counsel .      That 's

13 the situation    we're   at .    We've been discussing        this

14 mat ter with   counsel   for a couple     of week s.

15           THE COURT:     What I was going to do before          I even

16 came on the bench today was , depend ing on what the

17 verdict   was , was to have my law clerk contact           counsel

18 and arrange    a telephone      conference   call in the next few

19 day s to talk about what is going to be the status               of

20 part four of this case .

21           MS. GREENBERG:        That is the status , Your Honor .

22 We're just wait ing to     hear back .

23           THE COURT:     If you can continue     and you can try

24 to conclude    your discussion s about that , you would also

25 give me back the month of September           to re cover .




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 1           MS. GREENBERG:        The discussion s have been --

 2 I've talk ed about it for the last two week s.               I don't

 3 know what their position         is .

 4           THE COURT:    I think counsel        have to re act to

 5 what's    happen ed to day .    I'm not going to put people            on

 6 the spot to resolve      that question        right now , but

 7 certain ly if you can do that , that would be fine .                 If

 8 you want me to pick a date for a conference             call right

 9 now , we can do that .

10           MS. GREENBERG:        We have witness es subpoena ed ,

11 Your Honor , and we have jury instructions and               vo ir dire

12 prepared .    Maybe Tuesday      morn ing ?

13           THE COURT:    Not in the       morn ing , but I could

14 certain ly do -- how about 4 o'clock            on the fifth ?

15           MR. MONTEMARANO :       Court 's indulgence , please .

16           THE COURT:    Is that agreeable        for counsel     for

17 those for --

18           MR. WARD:    I'm sorry ?

19           THE COURT:    September       5th -- next Tuesday      at

20 4:00 p.m.

21           MR. WARD:    Yeah .     I'm going to be -- I mean ,

22 yeah .    I've got to go down to Wicomico          C ounty on

23 another    case , but I will make myself         available    at 4

24 o'clock    on my cell phone .

25           THE COURT:    Okay .     Contact    my law clerk .




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 1            Anybody    else have a problem      with that time ?

 2            MS. GREENBERG:      Mr. McKnett ?

 3            MR. MCKNETT:      I'm available .

 4            MS. GREENBERG:      Your Honor , should    we ask the

 5 marshals to bring up the            three defendant s so that

 6 counsel    can consult      with them , and perhaps       we can do

 7 something     on the record     if something     is resolve d

 8 satisfactorily ?

 9            THE COURT:      All right .     I'll request    then that

10 the marshals ' office        bring back the --

11            MS. GREENBERG:      I want ed to make sure that 's

12 okay with counsel .

13            MR. WARD:      As I said , I will    be on the phone .      I

14 can't -- I won't be here .

15            MS. GREENBERG:      Would you be able to be back

16 here if the court want ed to do something            on the record ?

17            MR. WARD:      My meet ing is at 2 o'clock       in

18 Wicomico    C ounty , and I expect       that to take an hour at

19 least , and it would take me more than an hour to drive

20 back here .

21            MS. GREENBERG:      Mr. Ward , would you have an

22 opportunity     to find out your client 's position           before

23 the telephone        conference ?

24            MR. WARD:      Not before     Tuesday .

25            MS. GREENBERG:      Then it won't be of much use ,




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 1 Your Honor .

 2           THE COURT:     Let 's do it a different        day then .

 3           What does Wednesday        look like ?

 4           MR. WARD:     Your Honor , my client        has said to me

 5 throughout     and is now indicati ng that she want s a

 6 speedy    trial .   She want s to go to trial on September

 7 12 th .

 8           MS. GREENBERG:       Your Honor , I don't know         that

 9 she understand s.      We're dis miss ing the charge s if she

10 agrees    to ex tend this .

11           MR. WARD:    We've    been through       all that .    I'm

12 just tell ing you what she says .          My response     has been

13 October     3 I'm going to be on an airplane           going to

14 England .     I don't care a what's       happening     anywhere

15 else , frankly .

16           THE COURT:     All right .     Counsel , can you -- can

17 we have an in court status         conference      about this on

18 Wednesday , the sixth ?

19           MR. WARD:     Yes, sir .

20           MR. MONTEMARANO :      At the court 's pleasure .

21           THE COURT:     All right .     I have a guilty        plea at

22 10 o'clock     on the sixth that won't take long .

23           How about 11 o'clock ?

24           MR. WARD:     I had planned to     come down anyway .

25 There 's an MS- 13 which I'm not direct ly involve d in ,




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 1 but I was going to be down here to observe .               I'm in a

 2 second    aspect    of that case .

 3            Wednesday     the sixth at 11:00 ?

 4            THE COURT:      11 o'clock .

 5            MR. MONTEMARANO:      Which courtroom ?       Your Honor ,

 6 if you can have chambers         ring us and let us know .

 7            THE COURT:      It will    be on the court calendar .        I

 8 can tell you right now it will be             this courtroom ,

 9 because    Judge Messitte      began a case in 2A, and he told

10 me it would take at least            two more day s of next week to

11 conclude     it .   N ext Wednesday      he 's going to be in 2A.

12            MR. MONTEMARANO:      Otherwise , there could be a

13 note outside ?

14            THE COURT:      No , you will find it .

15            All right .     Then I will     have an in court status

16 conference     with the defendant s present        on Wednesday ,

17 September     6 at 11 o'clock .

18            MS. GREENBERG:      What time , Your Honor ?

19            THE COURT:      11 :00 a.m.

20            You will be trail ing a guilty         plea that I have

21 at 10:00 .

22            Is there anything     further , counsel ?

23            MS. GREENBERG:      No .    Thank you , Y our Honor .

24            THE COURT:      Counsel , I want ed to thank you all

25 again for an extraordinarily             professional   job .   I




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 1 want ed to thank all counsel       again for an

 2 extraordinarily     professional    job of handli ng this case

 3 from both sides .     It 's been a pleasure      to -- you can

 4 call it -- pre side over this case with such good

 5 lawyer s, and it 's been a wonderful        summer .   Thank you

 6 all , counsel .

 7                       (Off the record      at 6:31 p.m. )

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 1                            CERTIFICATE

 2

 3      I, Tracy Rae Dunlap,       RPR , CRR , an Official Court

 4 Reporter for the United States District Court of

 5 Maryland, do hereby certify that I reported, by machine

 6 shorthand, in my official capacity, the proceedings had

 7 and testimony adduced upon the Jury Trial Proceedings

 8 in the case of UNITED STATES OF AMERICA versus PAULETTE

 9 MARTIN, et al, Criminal Action Number RWT-04-0235 on

10 August   31 , 2006.

11

12      I further certify that the foregoing            66 pages

13 constitute the official transcript of said proceedings,

14 as taken from my machine shorthand notes, of said

15 proceedings.

16

17      In witness whereof, I have hereto subscribed my

18 name, this 18th day of March 2008.

19

20

21                                   __________________________

22                                   TRACY RAE DUNLAP, RPR , CRR
                                     OFFICIAL COURT REPORTER
23

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